

Matter of Sherida L. v Hoggarth S. (2025 NY Slip Op 02159)





Matter of Sherida L. v Hoggarth S.


2025 NY Slip Op 02159


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, O'Neill Levy, Michael, JJ. 


Docket No. O-13486/19|Appeal No. 4109|Case No. 2024-01044|

[*1]In the Matter of Sherida L., Appellant,
vHoggarth S., Respondent.


Daniel X. Robinson, New York, for appellant.
Lance Dandridge, New York, for respondent.



Order, Family Court, New York County (Jacob K. Maeroff, Ref.), entered on or about February 15, 2024, which, after a hearing, found that petitioner failed to establish that respondent committed any family offense and dismissed the petition with prejudice, unanimously affirmed, without costs.
Family Court properly dismissed the petition upon a finding that petitioner failed to establish by a fair preponderance of the evidence that respondent engaged in any family offense (see Family Court Act §§ 812[1]; 832; Matter of Sheila M. v Jodeci S., 231 AD3d 519, 520 [1st Dept 2024], lv denied 42 NY3d 912 [2025]). The court's decision to credit respondent's testimony over petitioner's testimony is supported by a sound and substantial basis (see Matter of Judith L.C. v Lawrence Y., 179 AD3d 616, 616 [1st Dept 2020], lv denied 35 NY3d 911 [2020]). Family Court's assessment of the parties' credibility was based both on its observations of the parties and the testimony of respondent's former attorney, who witnessed the primary event alleged by petitioner, and whose testimony fully corroborated respondent's account and refuted petitioner's testimony. Thus, there is no basis to disturb the court's credibility determinations (see Matter of Any G. v Ayman H., 208 AD3d 1097, 1098 [1st Dept 2022]).
We have considered the remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








